   Case 3:23-cr-00026-MEM    Document 450     Filed 05/06/24    Page 1 of 31




                 UNITED STATES DISTRICT COURT
               MIDDLE DISTRICT OF PENNS\T-,VAMA

UNITED STATES OF AMERICA                 No. 3:23-CR-26

                                         (Judge MANMON)

SABRINA CLEVELAND,                       (electronically filed)
                 Defendant.

                            PLEAAGREEMENT

     The following Plea Agreement is entered by the United States

Attorney for the Middle District of Pennsylvania and the above-

captioned defendant. Any reference to the United States or to the

Government in this Agreement shall mean the Office of the United

States Attorney for the Middle District of Pennsylvania.

A. Violation (s). Pe nalties. and Die missal of Othe r Counts

    1. Guiltv plea. The defendant a grees to plead guilty to Count 1 of
        the Indictment, which charges the defendant with a violation of

        Title 21, United States Code, $ 846(d, Conspiracv to Distribute

        Controlled Substances. The maximum penalty for that offense

        is imprisonment for a period of 20 years, a fine of $1,000,000' a

        maximum term of supervised release of life but a minimum of at

        least 3 years, which shall be served at the conclusion of' and in
Case 3:23-cr-00026-MEM   Document 450    Filed 05/06/24   Page 2 of 31




    addition to, any term of imprisonment, as well as the costs of

    prosecution, imprisonment, probation, or supervised release

    ordered, denial ofcertain federal benefits, and an assessment in

    the amount of $100. At the time the guilty plea is entered, the

    defendant shall admit to the Court that the defendant is, in fact,

    guilty ofthe offense(s) charged in that count. After sentencing,

    the United States will move for dismissal of any remaining

    counts ofthe Indictment. The defendant agrees, however, that

    the United States may, at its sole election, reinstate any

    dismissed charges, or seek additional charges, in the event that

    any guilty plea entered or sentence imposed pursuant to this

    Agreement is subsequently vacated, set aside, or invalidated by

    any court. The defendant further agrees to waive any defenses

    to reinstatement of any charges, or to the filing of additional

    charges, based upon laches, the assertion of speedy trial rights,

    any applicable statute of limitations, or any other ground. The

    calculation of time under the Speedy Trial Act for when trial

    must commence is tolled as of the date of the defendant's
                                 2
Case 3:23-cr-00026-MEM   Document 450    Filed 05/06/24   Page 3 of 31




    signing of this Agreement, until either (a) the defendant pleads

    guiltyi or (b) a new date is set by the Court for commencement

    of trial.

2. Term ofSupervised Release. The defendant understands that
    the Court must impose at least a 3-year term of supervised

    release but up to a lifetime of supervised release in addition to

    any term of imprisonment, fine or assessment involving this

    violation ofthe Controlled Substances Act. The defendant also

    understands that the Court may impose a term of supervised

    release following any sentence of imprisonment exceeding one

    year, or when required by statute. The Court may require a

    term of supervised release in any other case. In addition, the

    defendant understands that as a condition ofany term of

    supervised release or probation, the Court must order that the

    defendant cooperate in the collection of a DNA sample if the

    collection of a sample is so authorized by law.

    Maximum Sentence. The defendant understands that the total,

    maximum possible sentence for all charges is the combination of
   Case 3:23-cr-00026-MEM   Document 450     Filed 05/06/24   Page 4 of 31




       penalties described abovei that is, 20 years in prison, fines

       totaling $1,000,000, a maximum lifetime of supervised release

       but at least 3 years, the costs of prosecution, denial of certain

       federal benefits and an assessment totaling $100.

   4. No Further Prosecution, Except Tax Charses. The United
       States Attorney's Office for the Middle District of Pennsylvania

       agrees that it will not bring any other criminal charges against

       the defendant directly arising out ofthe defendant's

       involvement in the offense(s) described above. However,

       nothing in this Agreement will limit prosecution for criminal tax

       charges, if any, arising out ofthose offenses.

B. Fines and Asseeemente
   5. Fine. The defendant understands that the Court may impose a
       fine pursuant to the Sentencing Reform Act of 1984. The willful

       failure to pay any fine imposed by the Court, in full, may be

       considered a breach ofthis Plea Agreement. Further, the

       defendant acknowledges that willful failure to pay the fine may

       subject the defendant to additional criminal violations and civil
                                    4
Case 3:23-cr-00026-MEM   Document 450    Filed 05/06/24   Page 5 of 31




    penalties pursuant to Title 18, United States Code, $ 3611, et

    seq.

6. Inmate Financial Responsibility Prosram. If the Court orders a
    fine or restitution as part of the defendant's sentence, and the

    sentence includes a term of imprisonment, the defendant agrees

    to voluntarily enter the United States Bureau of Prisons-

    administered program known as the Inmate Financial

    Responsibility Program, through which the Bureau of Prisons

    will collect up to 50% of the defendant's prison salary, and up to

    50% ofthe balance ofthe defendant's inmate account, and apply

    that amount on the defendant's behalf to the payment of the

    outstanding fine and restitution orders.

7. Special Assessment. The defendant understands that the Court
    will impose a special assessment of $100, pursuant to the
    provisions of Title 18, United States Code, $ 3013. No later

    than the date ofsentencing, the defendant or defendant's

    counsel shall mail a check in payment of the special assessment

    directly to the Clerk, United States District Court, Middle
                                5
Case 3:23-cr-00026-MEM    Document 450    Filed 05/06/24   Page 6 of 31




    District of Pennsylvania. If the defendant intentionally fails to

    make this payment, that failure may be treated as a breach of

    this Plea Agreement and may result in further prosecution, the

    filing of additional criminal charges, or a contempt citation.

8. Collection ofFinancial Oblisations. In order to facilitate the
    collection of financial obligations imposed in connection with

    this case, the defendant consents and agrees:

         to fully disclose all assets in which the defendant has an

         interest or over which the defendant has control, directly or

         indirectly, including those held by a spouse, nominee, or

         other third partyi

    b. to submit to interviews by the Government regarding the
         defendant's financial statusi

    c.   to submit a complete, accurate, and truthful financial

         statement, on the form provided by the Government, to the

         United States Attorney's Office no later than 14 days

         following entry of the guilty pleai


                                  6
  Case 3:23-cr-00026-MEM       Document 450   Filed 05/06/24   Page 7 of 31




       d. whether represented by counsel or not, to consent to contact
           by and communication with the Government, and to waive

           any prohibition against communication with a represented

           party by the Government regarding the defendant's

           financial statusi

       e   to authorize the Government to obtain the defendant's

           credit reports in order to evaluate the defendant's ability to

           satisfu any financial obligations imposed by the Courti and

       f. to submit any financial information requested by the
           Probation Office as directed, and to the sharing offinancial

           information between the Government and the Probation

           Office.

C. Sentencins Guidelines Calculation
   9. Determination of Sentencine Guidelines. The defendant and
       counsel for both parties agree that the United States Sentencing

       Commission Guidelines, which took effect on November 1, 1987,

       and its amendments (the "sentencing Guidelines"), will apply to

       the offense or offenses to which the defendant is pleading guilty.
                                      7
Case 3:23-cr-00026-MEM   Document 450     Filed 05/06/24   Page 8 of 31




    The defendant understands that the Sentencing Guidelines are

    advisory and not binding on the Court. The defendant further

    agrees that any legal and factual issues relating to the

    application of the Sentencing Guidelines to the defendant's

    conduct, including facts to support any specific offense

    characteristic or other enhancement or adjustment and the

    appropriate sentence within the statutory maximums provided

    for by law, will be determined by the Court after briefing, a pre-

    sentence hearing, or a sentencing hearing.

10. Accentance of Responsibili tv- Two/Three Levels. If the

    defendant can adequately demonstrate recognition and

    affirmative acceptance of responsibility to the Government as

    required by the Sentencing Guidelines, the Government will

    recommend that the defendant receive a two' or three-level

    reduction in the defendant's offense level for acceptance of

    responsibility. The third level, if applicable, shall be within the

    discretion of the Government under U.S.S.G. $ 3E1.1. The


                                 8
Case 3:23-cr-00026-MEM   Document 450    Filed 05/06/24   Page 9 of 31




    failure ofthe Court to find that the defendant is entitled to a

    reduction shall not be a basis to void this Agreement.

11. Specific Sentencins Guidelines Recommendations. With respect

    to the application of the Sentencing Guidelines to the

    defendant's conduct, the parties agree to recommend as follows:

       a. For purlloses of the U.S.S.G., the partiee agree
          that the defendant is responsible for the
          dietribution of, and posseesion with intent to
          dintribute, at leaet 160 grqmg but less than 280
          grams of fentanyl, a Schedule II controlled
          eubetance.

    Each party reserves the right to make whatever remaining

    arguments it deems appropriate with regard to application of

    the United States Sentencing Commission Guidelines to the

    defendant's conduct. The defendant understands that any

    recommendations are not binding upon either the Court or the

    United States Probation Office, which may make different

    findings as to the application of the Sentencing Guidelines to

    the defendant's conduct. The defendant further understands

    that the United States will provide the Court and the United

                                I
Case 3:23-cr-00026-MEM   Document 450   Filed 05/06/24   Page 10 of 31




    States Probation Office all information in its possession that it

    deems relevant to the application of the Sentencing Guidelines

    to the defendant's conduct.

 12. Appropriate Sentence Recommendation. At the time of

    sentencing, the United States may make a recommendation

    that it considers appropriate based upon the nature and

    circumstances of the case and the defendant's participation in

    the offense, and specifically reserves the right to recommend a

    sentence up to and including the maximum sentence of

    imprisonment and fine allowable, together with the cost of

    prosecution.

 13. Special Conditions of Probation/Supervised Release. If

    probation or a term ofsupervised release is ordered, the United

    States may recommend that the Court impose one or more

    special conditions, including but not limited to the following:

    il   The defendant be prohibited from possessing a firearm or

         other dangerous weapon.


                                  10
Case 3:23-cr-00026-MEM   Document 450    Filed 05/06/24   Page 11 of 31




     b. The defendant make restitution, if applicable, the pavment
         of which shall be in accordance with a schedule to be

         determined by the Court.

     C   The defendant pay any fine imposed in accordance with a

         schedule to be determined by the Court.

     d. The defendant be prohibited from incurring new credit
         charges or opening additional lines of credit without

         approval ofthe Probation Office unless the defendant is in

         compliance with the payment schedule.

     e   The defendant be directed to provide the Probation Office

         and the United States Attorney access to any requested

         financial information.

     f. The defendant be confined in a community treatment
         center, halfway house, or similar facility.

     g. The defendant be placed under home confinement.
     h. The defendant be ordered to perform community service.



                                  11
Case 3:23-cr-00026-MEM    Document 450    Filed 05/06/24   Page 12 of 31




     I    The defendant be restricted from working in certain types of

          occupations or with certain individuals if the Government

          deems such restrictions to be appropriate.

     j.   The defendant be directed to attend substance abuse

          counseling, which may include testing to determine whether

          the defendant is using drugs or alcohol.

     k. The defendant be directed to attend psychiatric or
          psychological counseling and treatment in a program

          approved by the Probation Officer.

     l.   The defendant be denied certain federal benefits including

          contracts, grants, loans, fellowships, and licenses.

     IN   The defendant be directed to pay any state or federal taxes

          and file any and all state and federal tax returns as

          required by law.

 14. Destruction OrderAVaivers. The defendant further a grees,

     should the United States deem it appropriate to the destruction

     of the items seized during the course of the investigation. The

     defendant agrees that the items may be destroyed by the
                                  l2
Case 3:23-cr-00026-MEM   Document 450    Filed 05/06/24   Page 13 of 31




    investigative agency with or without a court order authorizing

    the destruction of the items seized. If the United States

    determines that a destruction order should be obtained, the

    defendant and defendant's counsel hereby concur in a motion for

    such an order. The defendant further agrees to waive all

    interest in the assets in any administrative or judicial forfeiture

    proceeding, whether criminal or civil, state, or federal. The

    defendant consents and waives all rights to compliance by the

    United States with any applicable deadlines under 18 U.S.C. S

    983(a). Any related administrative claim filed by the defendant

    is hereby withdrawn. The defendant agrees to consent to the

    entry oforders of forfeiture for such property and waives the

    requirements of Federal Rules of Criminal Procedure 32.2 and

    43(a) regarding notice ofthe forfeiture in the charging

    instrument, announcement of the forfeiture at sentencing, and

    incorporation of forfeiture in the judgment.




                                13
  Case 3:23-cr-00026-MEM    Document 450    Filed 05/06/24   Page 14 of 31




D. Victime'Riehte and Restitution
   15. Victims'Riehts. The defendant understands that pursuant to

       the Victim and Witness Protection Act, the Crime Victims'

       Rights Act, the Justice for All Act, and the regulations

       promulgated under those Acts by the Attorney General ofthe

       United States, crime victims have the following rights:

       a.   The right to be reasonably protected from the accusedj

       b. The right to reasonable, accurate, and timely notice of any
            public court proceeding or any parole proceeding involving

            the crime, or of any release or escape of the accused;

       c    The right not to be excluded from any such public court

            proceeding, unless the Court, after receiving clear and

            convincing evidence, determines that testimony by the

            victim would be altered materially if the victim heard other

            testimony at that proceedingi

       d. The right to be reasonably heard at any public hearing in
            the Court involving release, plea, sentencing, or any parole

            proceeding. The defendant understands that the victims'
                                    1,4
Case 3:23-cr-00026-MEM      Document 450   Filed 05/06/24   Page 15 of 31




        comments and recommendations at any of these proceedings

        may be different than those of the parties to this

        Agreementi

    e   The reasonable right to confer with the attorney for the

        Government in the case. The defendant understands that

        the victims' opinions and recommendations given to the

        attorney for the Government may be dilferent than those

        presented by the United States as a consequence ofthis

        Agreementi

    f. The right to full and timely restitution as provided for by
        law. The attorney for the Government is required to "fully

        advocate the rights of victims on the issue of restitution

        unless such advocacy would unduly prolong or complicate

        the sentencing proceeding," and the Court is authorized to

        order restitution by the defendant including, but not limited

        to, restitution for property loss, economic loss, personal

        injury, or deathi

    g. The right to proceedings free from unreasonable delayi and
                                  15
Case 3:23-cr-00026-MEM   Document 450     Filed 05/06/24   Page 16 of 31




     h. The right to be treated with fairness and with respect for
         the victim's dignity and privacy.

 16. Restitution. The defendant acknowledges that, pursuant to the

     Mandatory Restitution Act of April 24,1996, Title 18, United

     States Code, $ 36634, the Court is required in all instances to

     order full restitution to aII victims for the losses those victims

     have suffered as a result ofthe defendant's conduct. The

     defendant also agrees that the Government will seek, and the

     Court may impose an order of restitution as to victims of the

     defendant's relevant conduct. With respect to the payment of

     restitution, the defendant further agrees that, as part of the

     sentence in this matter, the defendant shall be responsible for

     making payment of restitution in full, unless the defendant can

     demonstrate to the satisfaction ofthe Court that the defendant's

     economic circumstances do not allow for the payment of full

     restitution in the foreseeable future, in which case the

     defendant wiII be required to make partial restitution

     payments. In addition to the schedule of payments that may be
                                  16
Case 3:23-cr-00026-MEM   Document 450    Filed 05/06/24   Page 17 of 31




    established by the Court, the defendant understands and agrees

    that, pursuant to the Mandatory Victims Restitution Act of

     1996 and the Justice For AII Act of 2004, victims of federal

    crimes are entitled to full and timely restitution. As such, these

    payments do not preclude the Government from using other

    assets or income ofthe defendant to satisfy the restitution

    obligation. The defendant understands and agrees that the

    United States Attorney's Office, by and through the Financial

    Litigation Unit, has the obligation and the right to pursue any

    legal means, including but not limited to, submission of the debt

    to the Treasury Offset Program, to collect the full amount of

    restitution owed to the victims in a timely fashion. Although

    the defendant may reserve the right to contest the amount of

    restitution owed, the defendant agrees to take all steps to

    facilitate collection of all restitution, including submitting to

     debtor's exams as directed by the Government. Towards this

     goal, the defendant agrees to waive any further notice of

     forfeiture and agrees that the United States may, at its sole
                                 77
Case 3:23-cr-00026-MEM    Document 450    Filed 05/06/24   Page 18 of 31




     election, elect to pursue civil or criminal forfeiture in the

     amount of the victim restitution owed in this case, and the

     Court may enter both a restitution order and a forfeiture

     judgment in the amount of any unpaid restitution found by the

     Court to be due and owing at the time of sentencing in this

     matter. The defendant consents to the filing of any civil

     complaint or superseding information which may be necessary

     to perfect a forfeiture order and further stipulates and agrees

     that the defendant's guilty plea constitutes an admission to all

     matters legally and factually necessary for entry ofa forfeiture

     order in this case. The parties agree that the Government will

     recommend, but cannot guarantee, that any assets recovered

     through forfeiture proceedings be remitted to crime victims to

     reduce the defendant's restitution obligation in this case. The

     defendant acknowledges that the making of any payments does

     not preclude the Government from using other assets or income

     ofthe defendant to satisfu the restitution obligation. The

     defendant understands that the amount ofrestitution
                                  18
  Case 3:23-cr-00026-MEM    Document 450   Filed 05/06/24   Page 19 of 31




       calculated for purposes of Chapter 5 of the Sentencing

       Guidelines might be different from the amount of loss calculated

       for purposes of Chapter 2 of the Sentencing Guidelines.

   17. Full Restitution bv Schedule. The defendant agrees to make

       full restitution in accordance with a schedule to be determined

       by the Court.

E. Information Provided to Court a:rd Probation Office
   18. Backeround Information for Probation Office. The defendant

       understands that the United States will provide to the United

       States Probation Office all information in its possession that the

       United States deems relevant regarding the defendant's

       background, character, cooperation, if any, and involvement in

       this or other offenses.

   19. Obiections to Pre-Sentence Report. The defendant understands

       that pursuant to the United States District Court for the Middle

       District of Pennsylvania's "Policy for Guideline Sentencing,"

       both the United States and defendant must communicate to the

       Probation Officer within 14 days after disclosure of the pre-
                                   19
Case 3:23-cr-00026-MEM   Document 450    Filed 05/06/24   Page 20 of 31




     sentence report any objections they may have as to material

    information, sentencing classifications, applicable Sentencing

     Guidelines ranges, and policy statements contained in or

    omitted from the report. The defendant agrees to meet with the

    United States at least five days prior to sentencing in a good

    faith attempt to resolve any substantive differences. Ifany

    issues remain unresolved, they shall be communicated to the

    Probation Officer for inclusion in an addendum to the pre-

    sentence report. The defendant agrees that unresolved

     substantive objections will be decided by the Court after

    briefrng, a pre-sentence hearing, or at the sentencing hearing,

    where the standard or proof will be a preponderance ofthe

    evidence, and the Federal Rules ofEvidence, other than with

    respect to privileges, shall not apply under Fed. R. Evid.

     1101(d)(3), and the Court may consider any reliable evidence,

     including hearsay. Objections by the defendant to the pre-

     sentence report or the Court's rulings, will not be grounds for

     withdrawal of a plea of guilty.
                                 20
Case 3:23-cr-00026-MEM   Document 450    Filed 05/06/24   Page 21 of 31




 20. Relevant Sentencins Information. At sentencing, the United

     States will be permitted to bring to the Court's attention, and

     the Court will be permitted to consider, all relevant information

     about the defendant's background, character and conduct,

     including the conduct that is the subject ofthe charges that the

     United States has agreed to dismiss, and the nature and extent

     of the defendant's cooperation, if any. The United States will be

     entitled to bring to the Court's attention and the Court will be

     entitled to consider any failure by the defendant to fulfill any

     obligation under this Agreement.

 21. Non'Limitation on Government's Response. Nothing in this

     Agreement shall restrict or limit the nature or content of the

     United States' motions or responses to any motions filed on

     behalf of the defendant. Nor does this Agreement in any way

     restrict the Government in responding to any request by the

     Court for briefing, argument or presentation of evidence

     regarding the application ofSentencing Guidelines to the


                                 27
  Case 3:23-cr-00026-MEM   Document 450   Filed 05/06/24   Page 22 of 31




      defendant's conduct, including but not Iimited to, requests for

      information concerning possible sentencing departures.

F. Court Not Bound bv PIea Aereement
   22. Court Not Bound bv Terms. The defendant understands that

      the Court is not a party to and is not bound by this Agreement,

      or by any recommendations made by the parties. Thus, the

      Court is free to impose upon the defendant any sentence up to

      and including the maximum sentence of 20 years in prison, a

      maximum fine of $1,000,000, a maximum term of supervised

      release oflife but at least 3 years, which shall be served at the

      conclusion of and in addition to any term of imprisonment, the

      costs ofprosecution, denial of certain federal benefits, and

      assessments totaling $ 100.

   23. No Withdrawal of Ple a Based on Sentence or Recommendations.

      If the Court imposes a sentence with which the defendant is

      dissatisfied, the defendant will not be permitted to withdraw

      any guilty plea for that reason alone, nor will the defendant be

      permitted to withdraw any guilty plea should the Court decline
                                    22
  Case 3:23-cr-00026-MEM   Document 450    Filed 05/06/24   Page 23 of 31




       to follow any recommendations by any of the parties to this

       Agreement.

G. Breach of Plea A8reement bv Defendant
   24. Breach of Asreement. In the event the United States believes

       the defendant has failed to fulfill any obligation under this

       Agreement, then the United States shall, in its discretion, have

       the option ofpetitioning the Court to be relieved ofits

       obligations under this Agreement. Whether the defendant has

       completely fulfilled all of the obligations under this Agreement

       shall be determined by the Court in an appropriate proceeding,

       during which any disclosures and documents provided by the

       defendant shall be admissible, and during which the United

       States shall be required to establish any breach by a

       preponderance of the evidence. In order to establish any breach

       by the defendant, the United States is entitled to rely on

       statements and evidence given by the defendant during the

       cooperation phase of this Agreement, if any'


                                   oe
Case 3:23-cr-00026-MEM   Document 450    Filed 05/06/24   Page 24 of 31




 25. Remedies for Breach. The defendant and the United States

    agree that in the event the Court concludes that the defendant

    has breached the Agreement:

    a    The defendant will not be permitted to withdraw any guilty

         plea tendered under this Agreement and agrees not to

         petition for withdrawal of any guilty pleai

    b. The United States will be free to make any
         recommendations to the Court regarding sentencing in this

         CASE,


    (i   Any evidence or statements made by the defendant during

         the cooperation phase of this Agreement, if any, will be

         admissible at any trials or sentencingsi

    d. The United States will be free to bring any other charges it
         has against the defendant, including any charges originally

         brought against the defendant or which may have been

         under investigation at the time ofthe plea. The defendant

         waives and hereby agrees not to raise any defense to the

         reinstatement ofthese charges based upon collateral
                                 24
Case 3:23-cr-00026-MEM   Document 450    Filed 05/06/24   Page 25 of 31




         estoppel, Double Jeopardy, statute of limitations, assertion

         ofSpeedy Trial rights, or other similar grounds.

 26. Violation of Law While Plea or Sentence Pendine. The

     defendant understands that it is a condition of this Agreement

     that the defendant refrain from any further violations ofstate,

     local, or federal law while awaiting plea and sentencing. The

     defendant acknowledges and agrees that if the Government

     receives information that the defendant has committed new

     crimes while awaiting plea or sentencing in this case, the

     Government may petition the Court and, if the Court finds by a

    preponderance ofthe evidence that the defendant has

    committed any other criminal offense while awaiting plea or

     sentencing, the Government shall be free at its sole election to

    either: (d withdraw from this Agreementi or (b) make any

     sentencing recommendations to the Court that it deems

     appropriate. The defendant further understands and agrees

    that, if the Court finds that the defendant has committed any

    other offense while awaiting plea or sentencing, the defendant
                                 25
  Case 3:23-cr-00026-MEM   Document 450    Filed 05/06/24   Page 26 of 31




      will not be permitted to withdraw any guilty pleas tendered
       pursuant to this Agreement, and the government will be

       permitted to bring any additional charges that it may have

       against the defendant.

H. Deportation
   27. Deportation/Removal from the United States. The defendant

       understands that, ifdefendant is not a United States citizen,

       deportation/removal from the United States is a consequence of

       this plea. The defendant further agrees that this matter has

      been discussed with counsel who has explained the immigration

       consequences of this plea. The defendant still desires to enter

       into this plea after having been so advised.

I. Appeal Waiver
   28. Appeal Waiver - Direct. The defendant is aware that Title 28,

       United States Code, $ 1291 affords a defendant the right to

       appeal a judgment of conviction and sentencei and that Title 18,

       United States Code, $ 3742G) affords a defendant the right to

       appeal the sentence imposed. Acknowledging all of this, the
                                   26
  Case 3:23-cr-00026-MEM    Document 450     Filed 05/06/24   Page 27 of 31




       defendant knowingly waives the right to appeal the conviction

       and sentence. This waiver includes any and all possible

       grounds for appeal, whether constitutional or non-

       constitutional, including, but not limited to, the manner in

       which that sentence was determined in light of United States v.

       Booker,543 U.S. 220 e00il. The defendant further

       acknowledges that this appeal waiver is binding only upon the

       defendant and that the United States retains its right to appeal

       in this case.

J. Other Provisions
   29. Asreement Not tsin        on Other Aeencies. Nothin g in this

       Agreement shall bind any other United States Attorney's Office,

       state prosecutor's office, or federal, state, or local law

       enforcement agency.

   30. No Civil C laims or Suits. The defendant agrees not to pursue or

       initiate any civil claims or suits against the United States of

       America, its agencies or employees, whether or not presently

       known to the defendant, arising out ofthe investigation'
                                     27
Case 3:23-cr-00026-MEM   Document 450    Filed 05/06/24   Page 28 of 31




     prosecution or cooperation, if any, covered by this Agreement,

     including but not limited to any claims for attorney's fees and

     other litigation expenses arising out ofthe investigation and

     prosecution of this matter. By the defendant's guilty plea in

     this matter the defendant further acknowledges that the

     Government's position in this litigation was taken in good faith,

     had a substantial basis in law and fact and was not vexatious.

 31. Plea Asreement Serves Ends of Justice. The United States is

     entering this Agreement with the defendant because this

     disposition ofthe matter fairly and adequately addresses the

     gravity ofthe offense(s) from which the charge(s) is/are drawn,

     as well as the defendant's role in such offense(s), thereby

     serving the ends ofjustice.

 32. Mereer of AII Prior Ne sotiations. This document states the

     complete and only Agreement between the United States

     Attorney for the Middle District of Pennsylvania and the

     defendant in this case, and is binding only on the parties to this

     Agreement and supersedes all prior understandings or plea
                                   28
Case 3:23-cr-00026-MEM   Document 450    Filed 05/06/24   Page 29 of 31




     offers, whether written or oral. This agreement cannot be

     modified other than in writing that is signed by all parties or on

     the record in court. No other promises or inducements have

     been or will be made to the defendant in connection with this

     case, nor have any predictions or threats been made in

     connection with this plea. Pursuant to Rule 11 ofthe Federal

     Rules of Criminal Procedure, the defendant certifies that the

     defendant's plea is knowing and voluntary and is not the result

     offorce or threats or promises apart from those promises set

     forth in this Agreement.

 33. Defendant is Satisfied with Assistance of Counsel. The

     Defendant agrees that the defendant has discussed this case

     and this Agreement in detail with the defendant's attorney, who

     has advised the defendant ofthe defendant's Constitutional and

     other trial and appellate rights, the nature ofthe charges, the

     elements of the offenses the United States would have to prove

     at trial, the evidence the United States would present at such

     trial, possible defenses, the advisory Sentencing Guidelines and
                                 oo
Case 3:23-cr-00026-MEM   Document 450    Filed 05/06/24   Page 30 of 31




     other aspects of sentencing, potential losses of civil rights and

     privileges, and other potential consequences of pleading guilty

     in this case. The defendant agrees that the defendant is

     satisfied with the legal services and advice provided to the

     defendant by the defendant's attorney.

 34. Deadline for Acceptance of PIea Aereement. The original of this

     Agreement must be signed by the defendant and defense

     counsel and received by the United States Attorney's Office on

     or before 5:00 p.m., September 8, 2023, otherwise the offer may,

     in the sole discretion of the Government, be deemed withdrawn.

 35. Ilequired Sisnatures. None of the terms of this Agreement shall

     be binding on the Office of the United States Attorney for the

     Middle District of Pennsylvania until signed by the defendant

     and defense counsel and then signed by the United States

     Attorney or his designee.




                                 30
     Case 3:23-cr-00026-MEM           Document 450   Filed 05/06/24   Page 31 of 31




                                    ACKNOWLEDGMENTS

     I have read this agreement and carefully reviewed every part of it
with my attorney. I fully understand it and I voluntarily agree to it.


s/
Date                                        SABRINA CLEVEI,AND
                                            Defendant


        I am the defendant's counsel. I have carefully reviewed every part
of this agreement with the defendant. To my knowledge, my client's
decision to enter into this agre ement is       d and voluntary one.

5t3t2024
Date                                        R    RT BUTNER, ESQUIRE
                                            Counsel for Defendant




                                            GERARD M. KARAM
                                            United States Attorney

  5 (o a\
Date
                                      By:   \R                  o \u"^\ect J. o'l\*a
                                                                            (.)

                                            Assistant United States Attorney

AUSAA4LO/2023R089 AuguBt 26, 2023
VERSION DATE| March 8, 2021




                                             31
